

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. WR-70,823-01, -02, -03 &amp; -04






EX PARTE MARIANO NINO CORONADO, Applicant








ON APPLICATIONS FOR A WRIT OF HABEAS CORPUS


CAUSE NOS. 21,561, 21,521, 21,610 &amp; 21,611 IN THE 91ST DISTRICT COURT


FROM EASTLAND COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for a writ of habeas corpus. Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of
unauthorized use of a vehicle, possession with intent to deliver cocaine, possession of cocaine, and
possession with intent to deliver methamphetamine. He was sentenced to imprisonment for two
terms of two years and two terms of eighteen years. He did not appeal his convictions.

	Applicant contends, among other things, that his trial counsel rendered ineffective assistance
because he failed to investigate that while in private practice the prosecutor represented Applicant
in a drug case. Applicant has alleged facts that, if true, might entitle him to relief. Strickland v.
Washington, 466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000). 
In these circumstances, additional facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d
294, 294 (Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact. The
trial court shall provide Applicant's trial counsel with the opportunity to respond to Applicant's
claim of ineffective assistance of counsel. The trial court may use any means set out in Tex. Code
Crim. Proc. art. 11.07, § 3(d). In the appropriate case, the trial court may rely on its personal
recollection. Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent him at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
counsel was deficient and, if so, whether counsel's deficient performance prejudiced Applicant. The
trial court shall specifically determine whether the prosecutor represented Applicant in "a
substantially related matter" and whether the prosecutor obtained confidential information from that
representation that was used to Applicant's disadvantage. See Landers v. State, 256 S.W.3d 295,
304-306 (Tex. Crim. App. 2008). The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	These applications will be held in abeyance until the trial court has resolved the fact issues.
The issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of
the order granting the continuance shall be sent to this Court. A supplemental transcript containing
all affidavits and interrogatories or the transcription of the court reporter's notes from any hearing
or deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 



Filed: December 10,2008

Do not publish


